        Case 1:21-cr-00028-APM Document 301 Filed 07/09/21 Page 1 of 4



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                        Case No. 21-cr-00028 (APM)-10
      -v-
THOMAS EDWARD CARDWELL,
ET AL,
             Defendant.

             REQUEST TO EXTEND RESPONSE TO
PRESS COALITIONS’ APPLICATION FOR ACCESS TO VIDEO EXHIBITS

      The Defendant Kenneth Harrelson, by and through his counsel, hereby notifies

the Court that although he does not anticipate having an objection to the Press

Coalitions’ Application for Access to Video Exhibits, we respectfully requests that the

Court continue Defendant Kenneth Harrelson’s response on a later date at the

Court’s convenience. The reason for this request is that this firm has recently taken

over the representation of the defendant and respectfully request the Court to hold

off on ordering their release to the press until this firm has a chance to review them.


Dated: July 9, 2021                     /s/ John M. Pierce
                                        John M. Pierce
                                        355 S. Grand Avenue, 44th Floor
                                        Los Angeles, CA 90071
                                        Tel: (213) 262-9333
                                        jpierce@piercebainbridge.com

                                        Attorneys for Defendant Kenneth Harrelson
        Case 1:21-cr-00028-APM Document 301 Filed 07/09/21 Page 2 of 4




                           CERTIFICATE OF SERVICE


      I hereby certify that, on July 9, 2021, the foregoing was filed via the Court’s

electronic filing system, which constitutes service upon all counsel of record.

                                        /s/ John M. Pierce
       Case 1:21-cr-00028-APM Document 301 Filed 07/09/21 Page 3 of 4



Dated: July 9, 2021           /s/ Robert L. Jenkins, Jr.
Robert L. Jenkins Jr.
Brynum & Jenkins
1010 Cameron Street, Ste. 123
Alexandria, Va 22314
Tel: (703) 309-0899
rjenkins@bynumandjenkinslaw.com

Attorneys for Defendant William Joseph Pepe
        Case 1:21-cr-00028-APM Document 301 Filed 07/09/21 Page 4 of 4



CERTIFICATE OF SERVICE



      I hereby certify that, on March 18, 2021, this motion and the accompany

declaration was filed via the Court’s electronic filing system, which constitutes

service upon all counsel of record.

/s/ Robert L. Jenkins, Jr.

Robert L. Jenkins Jr.
